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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


  BTG INTERNATIONAL LIMITED, et al.      Honorable Kevin McNulty, U.S.D.J.

                   Plaintiffs,           Civil Action No. 15-cv-5909 (KM) (JBC)

                    v.               NOTICE OF UNOPPOSED MOTION TO
                                     SEAL THE [AMENDED PROPOSED]
  AMNEAL PHARMACEUTICALS LLC, et al. FINAL PRETRIAL ORDER

                   Defendants.           Return Date: January 22, 2019

  BTG INTERNATIONAL LIMITED, ET AL.,

                         Plaintiffs,

                    v.                   Honorable Kevin McNulty, U.S.D.J.

                                         Civil Action No. 16-cv-2449 (KM) (JBC)
  AMERIGEN PHARMACEUTICALS, INC.,
  AND AMERIGEN PHARMACEUTICALS
  LTD.,

                         Defendants.


  BTG INTERNATIONAL LIMITED, ET AL.,
                                         Honorable Kevin McNulty, U.S.D.J.
                   Plaintiffs,
                                         Civil Action No. 17-cv-6435 (KM) (JBC)
                    v.


  TEVA PHARMACEUTICALS USA, INC.,        Document Filed Electronically

                   Defendant.
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        PLEASE TAKE NOTICE that on January 22, 2019, or as soon thereafter as counsel may

 be heard, Defendants Mylan Pharmaceuticals Inc. and Mylan Inc. (“Mylan”) will appear before the

 Honorable James B. Clark, III, United States Magistrate Judge, at the Martin Luther King Federal

 Building & U.S. Courthouse, 50 Walnut Street, Newark, New Jersey, and will move this Court

 pursuant to Local Civil Rule 5.3(c), for the entry of an Order permanently sealing the [Amended

 Proposed] Final Pretrial Order, which has been filed under temporary seal (ECF No. 502).1

        PLEASE TAKE FURTHER NOTICE that Plaintiffs and the other Defendants do not

 oppose the relief requested by the instant motion.

        PLEASE TAKE FURTHER NOTICE that in support of this motion, Defendants shall

 rely upon the accompanying Declaration of Maria A. Stubbings in Support of Unopposed Motion

 to Redact and Seal the [Amended Proposed] Final Pretrial Order; Index in Support of Motion to

 Redact and Seal the [Amended Proposed] Final Pretrial Order; and all papers submitted herewith.

 A proposed form of Order, including Proposed Findings of Fact and Conclusions of Law, is also

 submitted for the Court’s consideration.




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   Mylan also seeks to seal the home address of one of its expert witnesses, which appears in Exhibit
 6 to the Declaration of Andrew T. Langford in Support of Plaintiffs’ Motion to Strike, filed under
 temporary seal (ECF No. 535-7), under the Fed. R. Civ. P. 5.2 privacy protection of personal
 information appearing in court filings.

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 Dated: December 26, 2018                  Respectfully submitted,

                                           SAIBER LLC

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                                           Mylan Pharmaceuticals Inc.


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